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 1   Douglas Q. Hahn, California Bar No. 257559
      dhahn@sycr.com
 2
     Salil Bali State Bar No. 263001
 3    sbali@sycr.com
     STRADLING YOCCA CARLSON & RAUTH, P.C.
 4
     660 Newport Center Drive, Suite 1600
 5   Newport Beach, CA 92660-6422
     Telephone: (949) 725-4000
 6
     Fax: (949) 725-4100
 7
     Victor G. Hardy (will seek admission pro hac vice)
 8
      vhardy@hpylegal.com
 9   HARDY PARRISH YANG, LLP
     Spicewood Business Center
10
     4412 Spicewood Springs Rd., Suite 202
11   Austin, Texas 78759
12   Phone: (512)520-9407

13   Attorneys for Plaintiff Preservation Technologies LLC
14
                                    UNITED STATES DISTRICT COURT
15
                                CENTRAL DISTRICT OF CALIFORNIA
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18   PRESERVATION TECHNOLOGIES                     Civil Action No. 2:17-cv-08906
     LLC,
19                                                 COMPLAINT
                      Plaintiff,
20                                                 Jury Trial Demanded
21                    v.

22   MINDGEEK USA INC. and
     MINDGEEK S.A.R.L.,
23
24                    Defendants.

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 1           Plaintiff Preservation Technologies LLC (“Preservation” or “Plaintiff”), by and
 2   through its attorneys, for its Complaint against Mindgeek USA Inc., and Mindgeek
 3   S.A.R.L. (together, “Mindgeek” or “Defendant”) hereby alleges as follows:
 4                                  I.   NATURE OF THE ACTION
 5           1.      This is a patent infringement action to end Defendant’s direct, joint,
 6   contributory, and/or induced infringement of Plaintiff Preservation’s patented
 7   inventions, including but not limited to Defendant’s unauthorized and infringing use,
 8   sale, offering for sale, manufacture, and/or importation of methods and products
 9   incorporating Plaintiff’s inventions.
10           2.      Preservation has obtained all substantial rights and interest to U.S. Patent
11   5,813,014, U.S. Patent 5,832,499, U.S. Patent 6,092,080, U.S. Patent 6,353,831, U.S.
12   Patent 5,832,495, U.S. Patent 6,477,537, U.S. Patent 6,199,060, U.S. Patent
13   6,212,527, U.S. Patent 6,549,911, U.S. Patent 6,581,071, and U.S. Patent 6,574,638
14   (collectively, the “Asserted Patents”).
15           3.      Defendant provides, uses, sells, offers for sale, distributes, manufactures,
16   and/or imports infringing products and services, and encourages others to use its
17   products and services in an infringing manner, including its customers.
18           4.      Plaintiff Preservation seeks to prevent Defendant from continuing
19   infringement of Plaintiff’s patent rights. Plaintiff further seeks past and future
20   damages and prejudgment and post judgment interest for Defendant’s past
21   infringement of the Asserted Patents.
22                                       II.   THE PARTIES
23           5.      Plaintiff Preservation is a limited liability company organized and
24   existing under the laws of the State of Delaware, with its principle place of business
25   located at 903 E. 18th Street, Suite 223, Plano, TX 75074.
26           6.      Upon information and belief, Mindgeek USA Inc. is a corporation
27   organized and existing under the laws of the State of Delaware, with an established
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 1   place of business located at 23000 West Empire Avenue, 7th Floor, Burbank California
 2   91504. Upon information and belief, defendant can be served with process by serving
 3   its registered agent for service of process in the State of California, CT Corporation
 4   System, 818 W 7th Street Suite 930, Los Angeles CA 90017.
 5           7.      Upon information and belief, Mindgeek S.A.R.L. is a Société à
 6   responsabilité limitée organized and existing under the laws of Luxembourg, with a
 7   place of business located at 32 Boulevard Royal, L-2249 Luxembourg City,
 8   Luxembourg.
 9           8.      Herein, “Mindgeek” or “Defendant” refers to Mindgeek USA Inc., and
10   Mindgeek S.A.R.L., and all of their parents, subsidiaries, and affiliates.
11                                  III.   JURISDICTION AND VENUE
12           9.      This is an action for patent infringement, which arises under the Patent
13   Laws of the United States, in particular, 35 U.S.C. §§ 271, 281, 283-285, among
14   others. This Court has subject matter jurisdiction of the action under 28 U.S.C. § 1331
15   and § 1338(a).
16           10.     Upon information and belief, this Court has personal jurisdiction over
17   Defendant, and venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b), (c),
18   and 1400 because, among other things, Mindgeek has established minimum contacts
19   within the forum such that the exercise of jurisdiction over Mindgeek will not offend
20   traditional notions of fair play and substantial justice. For example, Mindgeek has
21   placed products and services that practice and/or embody the claimed inventions of
22   the Asserted Patents into the stream of commerce with the knowledge and/or
23   reasonable expectation that purchasers and users of such products were located within
24   this district. In addition, Mindgeek has sold, advertised, marketed, and distributed
25   products in this district that practice the claimed inventions of the Asserted Patents.
26   Mindgeek derives substantial revenue from the sale of infringing products distributed
27   within this district, and/or expects or should reasonably expect its actions to have
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 1   consequences within this district, and derive substantial revenue from interstate and
 2   international commerce.
 3           11.     Venue properly lies in this district under the provisions of 28 U.S.C. §
 4   1400 because Defendant has committed acts of infringement and has a regular and
 5   established place of business located at 23000 West Empire Avenue, 7th Floor,
 6   Burbank California 91504 in this Judicial District.
 7                                  IV.   PLAINTIFF’S PATENTS
 8           12.     On September 22, 1998, United States Patent No. 5,813,014 (“the ’014
 9   Patent”) was duly and legally issued for a “Method and Apparatus for Management of
10   Multimedia Assets.” The invention disclosed by the ’014 Patent relates to a
11   multimedia system including components that allow input, information retrieval, and
12   display. The claims of the ’014 Patent cover, by way of example only, a method of
13   accessing multimedia data comprising the steps of defining a catalogue, specifying a
14   search request, identifying a result, retrieving a portion of multimedia data, storing the
15   search request, and storing the search result.
16           13.     On November 3, 1998, United States Patent No. 5,832,499 (“the ’499
17   Patent”) was duly and legally issued for a “Digital Library System.” The invention
18   disclosed by the ’499 Patent relates to a digital library system to capture, access,
19   manage, and distribute multimedia data. The claims of the ’499 Patent, by way of
20   example only, a digital library system comprising a data capture system, an access
21   management system, and a distribution system.
22           14.     On July 18, 2000, United States Patent No. 6,092,080 (“the ’080 Patent”)
23   was duly and legally issued for a “Digital Library System.” The invention disclosed
24   by the ’080 Patent relates to a digital library system that includes systems and
25   mechanisms for capturing, managing, and distributing multimedia data. The claims of
26   the ’080 Patent cover, by way of example only, a digital library system comprising a
27   cataloging system, an access management system, and a distribution system.
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 1           15.     On March 5, 2002, United States Patent No. 6,353,831 (“the ’831
 2   Patent”) was duly and legally issued for a “Digital Library System.” The invention
 3   disclosed by the ’831 Patent relates to a digital library system that includes systems
 4   and mechanisms for capturing, managing, and distributing multimedia data. The
 5   claims of the ’831 Patent cover, by way of example only, a digital library system
 6   comprising a means for cataloguing multimedia data, a means for managing access,
 7   and a means for distributing.
 8           16.     On November 3, 1998, United States Patent No. 5,832,495 (“the ’495
 9   Patent”) was duly and legally issued for a “Method and Apparatus for Cataloguing
10   Multimedia Data.” The invention disclosed by the ’495 Patent relates to cataloguing
11   of data such as multimedia data. It comprises a catalog including one or more catalog
12   elements, each of which has one or more attributes. The claims of the ’495 Patent
13   cover e, by way of example only, a method of cataloguing comprising creating a
14   catalogue, specifying a description, creating a catalogue element, and creating a point
15   to at least one keyword.
16           17.     On November 5, 2002, United States Patent No. 6,477,537 (“the ’537
17   Patent”) was duly and legally issued for a “Method and Apparatus for Management of
18   Multimedia Assets.” The invention disclosed by the ’537 Patent relates to a
19   multimedia system including components that allow input, information retrieval, and
20   display. The claims of the ’495 Patent cover, by way of example only, an application
21   program interface (API) comprising API protocol means comprising a command
22   interface between a first system component and an additional system component
23   comprising means for selecting multimedia data, means for retrieving multimedia
24   data, and means for displaying multimedia data.
25           18.     On March 6, 2001, United States Patent No. 6,199,060 (“the ’060
26   Patent”) was duly and legally issued for a “Method and Apparatus for Management of
27   Multimedia Assets.” The invention disclosed by the ’060 Patent relates to a
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 1   multimedia system including components to allow input, information retrieval, and
 2   display. The claims of the ’060 Patent cover, by way of example only, a method of
 3   interfacing components in a multimedia system comprising defining a generalized
 4   protocol, invoking a search request, communicating between at least two components,
 5   returning a search response, invoking a retrieval request, and invoking a transmit
 6   request.
 7           19.     On April 3, 2001, United States Patent No. 6,212,527 (“the ’527 Patent”)
 8   was duly and legally issued for a “Method and Apparatus for Cataloging Multimedia
 9   Data.” The invention disclosed by the ’527 Patent relates to cataloging of data such as
10   multimedia data. The claims of the ’527 Patent cover, by way of example only, a
11   method of managing the quality of a data collection of multimedia data comprising
12   reviewing multimedia data, creating a quality event, and associating the quality event
13   with input data.
14           20.     On April 15, 2003, United States Patent No. 6,549,911 (“the ’911
15   Patent”) was duly and legally issued for a “Method and Apparatus for Cataloguing
16   Multimedia Data.” The invention disclosed by the ’911 Patent relates to cataloguing
17   of data such as multimedia data. The claims of the ’527 Patent cover, by way of
18   example only, a method of cataloguing multimedia data comprising specifying a
19   description, creating a catalogue element, creating a plurality of attributes and
20   attribute elements, and creating a plurality of relationships.
21           21.     On July 17, 2003, United States Patent No. 6,581,071 (“the ’071 Patent”)
22   was duly and legally issued for a “Surveying System and Method.” The invention
23   disclosed by the ’071 Patent relates to a survey system wherein multiple versions of a
24   survey may be defined and data from the survey versions may be maintained as
25   cohesive data. Each survey may comprise different sets of questions and different
26   types of answers. The claims of the ’071 Patent cover, by way of example only, a
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 1   survey method comprising obtaining a schema, obtaining a definition, and capturing
 2   responses.
 3           22.     On June 3, 2003, United States Patent No. 6,574,638 (“the ’638 Patent”)
 4   was duly and legally issued for a “Surveying System and Method.” The invention
 5   disclosed by the ’638 Patent relates to a survey system wherein multiple versions of a
 6   survey may be defined and data from the survey versions may be maintained as
 7   cohesive data. Each survey may comprise a different set of questions and different
 8   types of answers. The claims of the ’638 Patent cover, by way of example only,
 9   associating multimedia data with surveying data comprising obtaining an association,
10   searching survey data, and identifying multimedia data.
11           23.     The USC Shoah Foundation, formerly known as Survivors of the Shoah
12   Visual History Foundation, (the “Shoah Foundation”) developed the patented
13   technology described in paragraphs 15-25, supra (collectively, the “Asserted
14   Patents”). In the mid-1990s, Steven Spielberg founded the Shoah Foundation to
15   preserve the testimonies of the then living 50,000 holocaust survivors before their first
16   a hand accounts of the Holocaust were lost as that generation passed away. The Shoah
17   Foundation’s impetus was to gather, catalog, and make available for access thousands
18   of video testimonies. In doing so, the Shoah Foundation sought to build one of the
19   largest video libraries in the world comprising nearly 52,000 video testimonies in 32
20   languages from 56 countries.
21           24.     In 1996, there was no digital library or other multimedia system that
22   could handle the large volume of video testimonies collected and maintained by the
23   Shoah Foundation, so Samuel Gustman, CTO of the Shoah Foundation and an
24   inventor of the Patents­ in-Suit, set out to design one. Gustman created a digital
25   library system that incorporated a unique distributed modular infrastructure and
26   advanced techniques for indexing, accessing, distributing, and surveying multimedia
27   data. The inventions underlying Gustman’s system were captured in 11 U.S. patents
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 1   that make up the Patents-in-Suit. Today, these inventions are used to enhance the
 2   consumer multimedia streaming experience in nearly every major internet company.
 3           25.     At the time of invention, development of multimedia distribution systems
 4   was in its infancy. Transmission of video and multimedia over existing computer
 5   communication networks, including the Internet, struggled with bandwidth and
 6   compatibility issues that impeded the development of early multimedia distribution
 7   systems. Liu, Multimedia Over IP: RSVP, RTP, RTCP, RTSP,
 8   http://www.cse.wustl.edu/~jain/cis788-97/ftp/ip_multimedia/; Zambelli, A History of
 9   Media Streaming and the Future of Connected TV,
10   https://www.theguardian.com/media-network/media-network-
11   blog/2013/mar/01/history-streaming-future-connected-tv
12           26.     In January 2006, the Shoah Foundation became part of the Dana and
13   David Dornsife College of Letters, Arts and Sciences at the University of Southern
14   California in Los Angeles, where the testimonies in the Visual History Archive are
15   preserved.
16           27.     Preservation has all substantial rights and interest to the Asserted Patents,
17   including all rights to recover for all past and future infringements thereof.
18                                  V.     DEFENDANT’S ACTS
19           28.     Preservation restates and realleges each of the allegations set forth above
20   and incorporates them herein.
21           29.     Upon information and belief, Defendant has infringed and continues to
22   infringe the Asserted Patents by making, providing, selling, offering for sale, using,
23   and/or distributing infringing systems, articles, and methods. Further, Defendant
24   induces and/or contributes to the infringement by one or more third parties, including
25   by way of example only providing and interacting with software (websites and
26   mobile applications) that issues computerized instructions that enable, support, direct,
27   control, and/or put into use components that practice the claimed inventions.
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 1           30.     The infringing Defendant systems, articles, and methods include, but are
 2   not limited to, systems, articles, and methods relating to the cataloguing, organizing,
 3   searching, rating, and provisioning of digital multimedia data, including but not
 4   limited to Defendant’s software and hardware supporting various Internet websites for
 5   streaming video, and related home and mobile device specific applications (the
 6   “Accused Systems”). Preservation alleges infringement of the Asserted Patents by the
 7   Accused Systems by all of Defendant’s websites listed below (and all other Defendant
 8   websites not listed below that use the Accused Systems and similar systems, platforms
 9   and/or protocols) collectively referred to herein as “Defendant’s Accused Websites”:
10                 • PornHub.com (“www.pornhub.com”)
11                 • YouPorn.com (“www.youporn.com”)
12                 • Tube8.com (“www.tube8.com”)
13                 • XTube.com (“www.xtube.com”)
14                 • ExtremeTube.com (“www.extremetube.com”)
15                 • RedTube.com (“www.redtube.com”)
16                 • SpankWire.com (“www.spankwire.com”)
17                 • KeezMovies.com (“www.keezmovies.com”)
18                 • YouPornGay.com (“www.youporngay.com”)
19                 • PornMD.com (“www.pornmd.com”)
20                 • Brazzers (“www.brazzersnetwork.com”)
21                 • Digital Playground (“www.digitalplayground.com”)
22                 • Twistys (“www.twistys.com”)
23                 • Reality Kings (“www.realitykings.com”)
24                 • SexTube.com (“www.sextube.com”)
25                 • Beeg.com (“www.beeg.com”)
26                 • Mofos.com (“www.mofos.com”)
27                 • GayTube.com (“www.gaytube.com”)
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 1   Preservation, without limitation, explicitly accuses all websites operated, owned, or
 2   controlled by Defendant that use the Accused Systems and similar systems, platforms
 3   and/or protocols in an infringing manner.
 4           31.     In addition to the foregoing, Defendant also provides related services and
 5   associated applications for the above websites including but not limited to mobile
 6   applications. Further, Defendant provides specifications and instructions for the
 7   installation and operation of infringing systems and articles to its end users and
 8   customers and instructs its end users and customers to use the products and software
 9   in an infringing manner, including via the enumerated Accused Systems.
10                                     Direct and Joint Infringement
11           32.     Preservation restates and realleges each of the allegations set forth above
12   and incorporates them herein.
13           33.     Upon information and belief, Defendant uses, provides and/or distributes
14   infringing systems in this jurisdiction and elsewhere. For example, Defendant
15   provides and/or distributes infringing Accused Systems to its customers and third
16   parties. It uses software and hardware to process queries and requests by third parties.
17   Accused systems used by, put into use by, provided and/or distributed by Defendant
18   include, by way of example only, Defendant’s websites and mobile applications and
19   associated computerized instructions, user interfaces, media players, and multimedia.
20           34.     Upon information and belief, Defendant uses, puts into use, provides
21   software, applications, mobile applications, hardware and/or instructions to third
22   parties including by way of example only its users, CDNs and customers, who
23   download Defendant’s software, applications, and/or mobile applications in
24   accordance with Defendant’s provided instructions. Defendant’s software interacts
25   with Defendant’s servers and/or service by communication with and giving and/or
26   receiving instructions, data, and other information to and from Defendant’s servers.
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 1           35.     Upon information and belief, Defendant exercises control over the
 2   devices of its customers and third parties. Defendant’s customers and third parties
 3   download Defendant’s software and/or mobile applications to their devices and
 4   Defendant exercises control over those devices by sending computerized instructions,
 5   providing user interfaces, and providing protocols to allow its customers and third
 6   parties to interact with Defendant’s servers and to use Defendant’s systems.
 7   Defendant controls the interactions between customer and third party devices and its
 8   systems in an infringing manner in this jurisdiction and elsewhere.
 9           36.     Upon information and belief, Defendant’s employees, in this Judicial
10   District and elsewhere, operate the Accused Systems in an infringing manner, such as
11   by way of example only (1) using the Accused Systems to support websites and
12   applications; (2) putting into use by others (3) demonstrating the Accused System, (4)
13   testing the Accused System, and (5) using the Accused Systems to catalogue
14   multimedia.
15           37.     All of the above acts constitute acts of direct infringement.
16                              Induced and Contributory Infringement
17           38.     Preservation restates and realleges each of the allegations set forth above
18   and incorporates them herein.
19           39.     Upon information and belief, Defendant’s acts described as acts of direct
20   infringement concerning the manufacture, use, offer for sale, sale operation,
21   distribution, and/or installation of Defendant systems and/or software and those
22   described below also constitute acts of induced and contributory infringement.
23           40.     Upon information and belief, third parties including Defendant
24   customers, users, CDNs and owners within this jurisdiction and elsewhere directly
25   infringe the Asserted Patents and Defendant induces and/or contributes to that
26   infringement. As an example only, end users of Defendant’s Accused Websites,
27   including, but not limited to Defendant’s pornhub.com website retrieve adult videos,
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 1   clips, and other multimedia types by using (and putting into use) the systems and
 2   solutions claimed by the Asserted Patents. Further, users upload multimedia to
 3   Defendant’s system and catalogue the uploaded multimedia in an infringing manner.
 4   Both the software made available at Defendant’s websites and instructions provided
 5   by Defendant induce users and third parties to use an infringing system and method,
 6   and the third parties do in fact infringe.
 7           41.     Defendant induces users and third parties to infringe by providing
 8   monetary and/or other compensation, such as for uploading and cataloguing
 9   multimedia.
10           42.     To the extent that some elements of a claim are performed by a different
11   party than Defendant, Defendant, through its software and infringing systems, puts the
12   claimed system of the Asserted Patents into service as described herein and receives a
13   benefit upon performance of steps of the methods of the Asserted Patent. To the extent
14   multimedia is provided by third party servers or networks, Defendant’s systems and/or
15   Defendant’s customers’ systems put these third party systems into use. For example,
16   Defendant provides software instructions downloaded by third parties that put into use
17   the third parties’ players and systems. Third parties put into use Defendant’s systems
18   by searching for and retrieving multimedia in an infringing manner. Further,
19   Defendant’s software establishes the manner and/or timing of the performance of
20   steps of the Asserted Patents, such as establishing the manner and/or timing of user’s
21   cataloguing of multimedia.
22           43.     Upon information and belief, Defendant receives a benefit from such
23   actions by the third parties as it allows Defendant to provide a desirable product or
24   allows the third parties to purchase products and services from Defendant.
25           44.     Upon information and belief, Defendant provides its customers and/or
26   other third parties instructions, materials, advertisements, services, encouragement,
27   and software to use, load, and/or operate the Accused Systems in an infringing
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 1   manner. Sending computerized instructions are acts of control by Defendant on the
 2   players of third parties. Upon information and belief, Defendant further induces its
 3   customers and third parties to use the Accused Systems by providing subscriptions for
 4   the Accused Systems. Defendant has actively induced infringement by its customers
 5   and/or third parties in this jurisdiction.
 6           45.     Upon information and belief, Defendant has acted with the specific intent
 7   to induce or cause infringement and to conduct acts of infringement as described
 8   herein within this jurisdiction and elsewhere. Defendant continues to provide
 9   instructions to its customers and third parties to operate the Accused Systems in an
10   infringing manner since having notice and actual knowledge of the Asserted Patents.
11   Defendant’s notice and actual knowledge of the Asserted Patents are more fully set
12   forth in paragraphs 53 - 56 below.
13           46.     Upon information and belief, customers and users of the Accused
14   Systems reside in this jurisdiction and conduct acts of infringement within this
15   jurisdiction. Upon information and belief, Defendant has been and continues to
16   indirectly infringe the Asserted Patents within this jurisdiction and elsewhere in the
17   United States by, among other things, inducing and/or contributing to third parties’
18   infringement of the claims of the Asserted Patents without Plaintiff’s authority.
19           47.     Upon information and belief, Defendant provides, makes, sells, and
20   offers its Accused Systems with the specific intention that its customers and/or other
21   third party direct infringers use the Accused Systems in an infringing manner. Upon
22   information and belief, Defendant provides and instructs third parties to use the
23   Accused Systems in the manner claimed in the Asserted Patents.
24           48.     Upon information and belief, the Accused Systems have no substantial
25   non-infringing use and is especially made and/or adapted so as to infringe the
26   Asserted Patents.
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 1           49.     Upon information and belief, Defendant knows its systems, articles and
 2   services are especially made or especially adapted for use in an infringement of the
 3   Asserted Patents and not a staple article or commodity of commerce suitable for
 4   substantial non-infringing use.
 5           50.     Other than the ’071 and ’638 Patents, Defendant acquired knowledge of
 6   the Asserted Patents no later than September 30, 2014, the date Defendant received
 7   Plaintiff’s Notice of Infringement letter. Defendant received notice of the ’071 and
 8   ’638 Patents no later than Plaintiff’s Notice of Infringement letter of October 3, 2014.
 9           51.     Upon information and belief, Defendant has had notice and actual
10   knowledge of Plaintiff’s rights in the Asserted Patents other than the ’071 and ’638
11   Patents since at least September 30, 2014.
12           52.     Upon information and belief, Defendant has had notice and actual
13   knowledge of Plaintiff’s rights in the ’071 and ’638 Patents since at least October 3,
14   2014.
15           53.     Defendant has had notice and actual knowledge of the Asserted Patents at
16   least as of the service date of this complaint.
17           54.     Notwithstanding, Defendant continues to willfully and with specific
18   intent infringe upon and cause others to infringe upon one or more claims of the
19   Asserted Patents.
20                                            COUNT 1
21         (Direct and indirect infringement of United States Patent No. 5,813,014)
22           55.     Preservation restates and realleges each of the allegations set forth above
23   and incorporates them herein.
24           56.     Defendant, without permission of Preservation, has been and is presently
25   infringing multiple claims of the ’014 Patent, as infringement is defined by 35 U.S.C.
26   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
27   of example only, Defendant’s Accused Websites such as PornHub.com is an article of
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 1   manufacture comprising computer readable program code for accessing multimedia
 2   data comprising code to cause a computer to define a catalogue for multimedia data,
 3   code to cause a computer to specify a search request, code to cause a computer to
 4   identify a result, code to cause a computer to retrieve multimedia data, and code to
 5   cause a computer to store the search request and thus uses the invention covered by at
 6   least one claim of the ’014 Patent, such as but not limited to claim 21.
 7           57.     Defendant indirectly infringes the ’014 Patent by inducing or
 8   contributing to the infringement of the ’014 Patent, including but not limited to
 9   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
10           58.     Defendant does not have a license or permission to use the claimed
11   subject matter of the ’014 Patent.
12           59.     As a direct and proximate result of Defendant’s direct, joint, induced,
13   and/or contributory infringement of the ’014 Patent, Preservation has been injured and
14   has been caused significant financial damage.
15           60.     Defendant’s aforementioned acts have caused damage to Preservation
16   and will continue to do so unless and until enjoined.
17           61.     Preservation alleges upon information and belief that Defendant has,
18   knowingly or with willful blindness, willfully infringed one or more claims of the
19   ’014 patent. Defendant had knowledge of the Asserted Patents as set forth above,
20   having been advised of the existence and substance of the Asserted Patents by
21   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
22   its knowledge or despite that it should have known of an objectively high likelihood
23   that its actions constituted infringement of Preservation’s valid patent rights, continue
24   to infringe.
25           62.     This objectively-defined risk was either known or so obvious that it
26   should have been known to Defendant. Preservation seeks enhanced damages
27   pursuant to 35 U.S.C. § 284 from Defendant.
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 1           63.     As a result of Defendant’s infringement of the ’014 Patent, Preservation
 2   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
 3   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
 4   less than a reasonable royalty, together with interest and costs as fixed by this Court
 5   under 35 U.S.C. § 284.
 6                                            COUNT 2
 7         (Direct and indirect infringement of United States Patent No. 5,832,499)
 8           64.     Preservation restates and realleges each of the allegations set forth above
 9   and incorporates them herein.
10           65.     Defendant, without permission of Preservation, has been and is presently
11   infringing multiple claims of the ’499 Patent, as infringement is defined by 35 U.S.C.
12   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
13   of example only, Defendant’s Accused Websites such as PornHub.com is an article of
14   manufacture comprising computer readable code configured to cause a computer to
15   search a local cache, cause a computer to retrieve a multimedia data from a remote
16   cache, and cause a computer to retrieve multimedia data from permanent storage and
17   thus uses the invention covered by at least one claim of the ’499 Patent, such as but
18   not limited to claim 16.
19           66.     Defendant indirectly infringes the ’499 Patent by inducing or
20   contributing to the infringement of the ’499 Patent, including but not limited to
21   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
22           67.     Defendant does not have a license or permission to use the claimed
23   subject matter of the ’499 Patent.
24           68.     As a direct and proximate result of Defendant’s direct, joint, induced,
25   and/or contributory infringement of the ’499 Patent, Preservation has been injured and
26   has been caused significant financial damage.
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                                             COMPLAINT
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 1           69.     Defendant’s aforementioned acts have caused damage to Preservation
 2   and will continue to do so unless and until enjoined.
 3           70.     Preservation alleges upon information and belief that Defendant has,
 4   knowingly or with willful blindness, willfully infringed one or more claims of the
 5   ’499 patent. Defendant had knowledge of the Asserted Patents as set forth above,
 6   having been advised of the existence and substance of the Asserted Patents by
 7   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
 8   its knowledge or despite that it should have known of an objectively high likelihood
 9   that its actions constituted infringement of Preservation’s valid patent rights, continue
10   to infringe.
11           71.     This objectively-defined risk was either known or so obvious that it
12   should have been known to Defendant. Preservation seeks enhanced damages
13   pursuant to 35 U.S.C. § 284 from Defendant.
14           72.     As a result of Defendant’s infringement of the ’499 Patent, Preservation
15   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
16   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
17   less than a reasonable royalty, together with interest and costs as fixed by this Court
18   under 35 U.S.C. § 284.
19                                            COUNT 3
20         (Direct and indirect infringement of United States Patent No. 6,092,080)
21           73.     Preservation restates and realleges each of the allegations set forth above
22   and incorporates them herein.
23           74.     Defendant, without permission of Preservation, has been and is presently
24   infringing multiple claims of the ’080 Patent, as infringement is defined by 35 U.S.C.
25   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
26   of example only, Defendant’s Accused Websites such as PornHub.com includes a
27   digital library system comprising a cataloguing system, an access management
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                                             COMPLAINT
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 1   system, and a distribution system and thus uses the invention covered by at least one
 2   claim of the ’080 Patent, such as but not limited to claim 14.
 3           75.     Defendant indirectly infringes the ’080 Patent by inducing or
 4   contributing to the infringement of the ’080 Patent, including but not limited to
 5   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
 6           76.     Defendant does not have a license or permission to use the claimed
 7   subject matter of the ’080 Patent.
 8           77.     As a direct and proximate result of Defendant’s direct, joint, induced,
 9   and/or contributory infringement of the ’080 Patent, Preservation has been injured and
10   has been caused significant financial damage.
11           78.     Defendant’s aforementioned acts have caused damage to Preservation
12   and will continue to do so unless and until enjoined.
13           79.     Preservation alleges upon information and belief that Defendant has,
14   knowingly or with willful blindness, willfully infringed one or more claims of the
15   ’080 patent. Defendant had knowledge of the Asserted Patents as set forth above,
16   having been advised of the existence and substance of the Asserted Patents by
17   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
18   its knowledge or despite that it should have known of an objectively high likelihood
19   that its actions constituted infringement of Preservation’s valid patent rights, continue
20   to infringe.
21           80.     This objectively-defined risk was either known or so obvious that it
22   should have been known to Defendant. Preservation seeks enhanced damages
23   pursuant to 35 U.S.C. § 284 from Defendant.
24           81.     As a result of Defendant’s infringement of the ’080 Patent, Preservation
25   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
26   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
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                                             COMPLAINT
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 1   less than a reasonable royalty, together with interest and costs as fixed by this Court
 2   under 35 U.S.C. § 284.
 3                                            COUNT 4
 4         (Direct and indirect infringement of United States Patent No. 6,353,831)
 5           82.     Preservation restates and realleges each of the allegations set forth above
 6   and incorporates them herein.
 7           83.     Defendant, without permission of Preservation, has been and is presently
 8   infringing multiple claims of the ’831 Patent, as infringement is defined by 35 U.S.C.
 9   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
10   of example only, Defendant’s Accused Websites such as PornHub.com includes a
11   digital library system comprising a means for cataloguing multimedia data, a means
12   for managing access, and a means for distributing multimedia data and thus uses the
13   invention covered by at least one claim of the ’831 Patent, such as but not limited to
14   claim 1.
15           84.     Defendant indirectly infringes the ’831 Patent by inducing or
16   contributing to the infringement of the ’831 Patent, including but not limited to
17   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
18           85.     Defendant does not have a license or permission to use the claimed
19   subject matter of the ’831 Patent.
20           86.     As a direct and proximate result of Defendant’s direct, joint, induced,
21   and/or contributory infringement of the ’831 Patent, Preservation has been injured and
22   has been caused significant financial damage.
23           87.     Defendant’s aforementioned acts have caused damage to Preservation
24   and will continue to do so unless and until enjoined.
25           88.     Preservation alleges upon information and belief that Defendant has,
26   knowingly or with willful blindness, willfully infringed one or more claims of the
27   ’831 patent. Defendant had knowledge of the Asserted Patents as set forth above,
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 1   having been advised of the existence and substance of the Asserted Patents by
 2   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
 3   its knowledge or despite that it should have known of an objectively high likelihood
 4   that its actions constituted infringement of Preservation’s valid patent rights, continue
 5   to infringe.
 6           89.     This objectively-defined risk was either known or so obvious that it
 7   should have been known to Defendant. Preservation seeks enhanced damages
 8   pursuant to 35 U.S.C. § 284 from Defendant.
 9           90.     As a result of Defendant’s infringement of the ’831 Patent, Preservation
10   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
11   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
12   less than a reasonable royalty, together with interest and costs as fixed by this Court
13   under 35 U.S.C. § 284.
14                                            COUNT 5
15         (Direct and indirect infringement of United States Patent No. 5,832,495)
16           91.     Preservation restates and realleges each of the allegations set forth above
17   and incorporates them herein.
18           92.     Defendant, without permission of Preservation, has been and is presently
19   infringing multiple claims of the ’495 Patent, as infringement is defined by 35 U.S.C.
20   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
21   of example only, Defendant’s Accused Websites such as PornHub.com includes a
22   system for cataloging multimedia data comprising a processing unit, a cataloguing
23   facility, a relationship management facility, and a plurality of index elements and thus
24   uses the invention covered by at least one claim of the ’495 Patent, such as but not
25   limited to claim 25.
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                                             COMPLAINT
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 1           93.     Defendant indirectly infringes the ’495 Patent by inducing or
 2   contributing to the infringement of the ’495 Patent, including but not limited to
 3   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
 4           94.     Defendant does not have a license or permission to use the claimed
 5   subject matter of the ’495 Patent.
 6           95.     As a direct and proximate result of Defendant’s direct, joint, induced,
 7   and/or contributory infringement of the ’495 Patent, Preservation has been injured and
 8   has been caused significant financial damage.
 9           96.     Defendant’s aforementioned acts have caused damage to Preservation
10   and will continue to do so unless and until enjoined.
11           97.     Preservation alleges upon information and belief that Defendant has,
12   knowingly or with willful blindness, willfully infringed one or more claims of the
13   ’495 patent. Defendant had knowledge of the Asserted Patents as set forth above,
14   having been advised of the existence and substance of the Asserted Patents by
15   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
16   its knowledge or despite that it should have known of an objectively high likelihood
17   that its actions constituted infringement of Preservation’s valid patent rights, continue
18   to infringe.
19           98.     This objectively-defined risk was either known or so obvious that it
20   should have been known to Defendant. Preservation seeks enhanced damages
21   pursuant to 35 U.S.C. § 284 from Defendant.
22           99.     As a result of Defendant’s infringement of the ’495 Patent, Preservation
23   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
24   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
25   less than a reasonable royalty, together with interest and costs as fixed by this Court
26   under 35 U.S.C. § 284.
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                                             COMPLAINT
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 1                                          COUNT 6
 2         (Direct and indirect infringement of United States Patent No. 6,477,537)
 3           100. Preservation restates and realleges each of the allegations set forth above
 4   and incorporates them herein.
 5           101. Defendant, without permission of Preservation, has been and is presently
 6   infringing multiple claims of the ’537 Patent, as infringement is defined by 35 U.S.C.
 7   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
 8   of example only, Defendant’s Accused Websites such as PornHub.com includes an
 9   API comprising API protocol means comprising a command interface comprising
10   means for selecting multimedia data, means for retrieving multimedia data, and means
11   for displaying multimedia data and thus uses the invention covered by at least one
12   claim of the ’537 Patent, such as but not limited to claim 1.
13           102. Defendant indirectly infringes the ’537 Patent by inducing or
14   contributing to the infringement of the ’537 Patent, including but not limited to
15   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
16           103. Defendant does not have a license or permission to use the claimed
17   subject matter of the ’537 Patent.
18           104. As a direct and proximate result of Defendant’s direct, joint, induced,
19   and/or contributory infringement of the ’537 Patent, Preservation has been injured and
20   has been caused significant financial damage.
21           105. Defendant’s aforementioned acts have caused damage to Preservation
22   and will continue to do so unless and until enjoined.
23           106. Preservation alleges upon information and belief that Defendant has,
24   knowingly or with willful blindness, willfully infringed one or more claims of the
25   ’537 patent. Defendant had knowledge of the Asserted Patents as set forth above,
26   having been advised of the existence and substance of the Asserted Patents by
27   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
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 1   its knowledge or despite that it should have known of an objectively high likelihood
 2   that its actions constituted infringement of Preservation’s valid patent rights, continue
 3   to infringe.
 4           107. This objectively-defined risk was either known or so obvious that it
 5   should have been known to Defendant. Preservation seeks enhanced damages
 6   pursuant to 35 U.S.C. § 284 from Defendant.
 7           108. As a result of Defendant’s infringement of the ’537 Patent, Preservation
 8   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
 9   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
10   less than a reasonable royalty, together with interest and costs as fixed by this Court
11   under 35 U.S.C. § 284.
12                                          COUNT 7
13         (Direct and indirect infringement of United States Patent No. 6,199,060)
14           109. Preservation restates and realleges each of the allegations set forth above
15   and incorporates them herein.
16           110. Defendant, without permission of Preservation, has been and is presently
17   infringing multiple claims of the ’060 Patent, as infringement is defined by 35 U.S.C.
18   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
19   of example only, Defendant’s Accused Websites such as PornHub.com includes a
20   computer usable medium having computer readable code configured to cause a
21   computer to define a generalized protocol, invoke a search request, communicate
22   between at least two components, return a search result, invoke a retrieval request, and
23   invoke a transmit request and thus uses the invention covered by at least one claim of
24   the ’060 Patent, such as but not limited to claim 14.
25           111. Defendant indirectly infringes the ’060 Patent by inducing or
26   contributing to the infringement of the ’060 Patent, including but not limited to
27   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
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                                           COMPLAINT
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 1           112. Defendant does not have a license or permission to use the claimed
 2   subject matter of the ’060 Patent.
 3           113. As a direct and proximate result of Defendant’s direct, joint, induced,
 4   and/or contributory infringement of the ’060 Patent, Preservation has been injured and
 5   has been caused significant financial damage.
 6           114. Defendant’s aforementioned acts have caused damage to Preservation
 7   and will continue to do so unless and until enjoined.
 8           115. Preservation alleges upon information and belief that Defendant has,
 9   knowingly or with willful blindness, willfully infringed one or more claims of the
10   ’060 patent. Defendant had knowledge of the Asserted Patents as set forth above,
11   having been advised of the existence and substance of the Asserted Patents by
12   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
13   its knowledge or despite that it should have known of an objectively high likelihood
14   that its actions constituted infringement of Preservation’s valid patent rights, continue
15   to infringe.
16           116. This objectively-defined risk was either known or so obvious that it
17   should have been known to Defendant. Preservation seeks enhanced damages
18   pursuant to 35 U.S.C. § 284 from Defendant.
19           117. As a result of Defendant’s infringement of the ’060 Patent, Preservation
20   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
21   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
22   less than a reasonable royalty, together with interest and costs as fixed by this Court
23   under 35 U.S.C. § 284.
24                                          COUNT 8
25         (Direct and indirect infringement of United States Patent No. 6,212,527)
26           118. Preservation restates and realleges each of the allegations set forth above
27   and incorporates them herein.
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                                           COMPLAINT
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 1           119. Defendant, without permission of Preservation, has been and is presently
 2   infringing multiple claims of the ’527 Patent, as infringement is defined by 35 U.S.C.
 3   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
 4   of example only, Defendant’s Accused Websites such as PornHub.com operates a
 5   method of managing multimedia data collection quality comprising reviewing
 6   multimedia data, creating a quality event, and associating the quality event with an
 7   input data portion of the multimedia data and thus uses the invention covered by at
 8   least one claim of the ’527 Patent, such as but not limited to claim 1.
 9           120. Defendant indirectly infringes the ’527 Patent by inducing or
10   contributing to the infringement of the ’527 Patent, including but not limited to
11   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
12           121. Defendant does not have a license or permission to use the claimed
13   subject matter of the ’527 Patent.
14           122. As a direct and proximate result of Defendant’s direct, joint, induced,
15   and/or contributory infringement of the ’527 Patent, Preservation has been injured and
16   has been caused significant financial damage.
17           123. Defendant’s aforementioned acts have caused damage to Preservation
18   and will continue to do so unless and until enjoined.
19           124. Preservation alleges upon information and belief that Defendant has,
20   knowingly or with willful blindness, willfully infringed one or more claims of the
21   ’527 patent. Defendant had knowledge of the Asserted Patents as set forth above,
22   having been advised of the existence and substance of the Asserted Patents by
23   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
24   its knowledge or despite that it should have known of an objectively high likelihood
25   that its actions constituted infringement of Preservation’s valid patent rights, continue
26   to infringe.
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                                               -24-
                                           COMPLAINT
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 1           125. This objectively-defined risk was either known or so obvious that it
 2   should have been known to Defendant. Preservation seeks enhanced damages
 3   pursuant to 35 U.S.C. § 284 from Defendant.
 4           126. As a result of Defendant’s infringement of the ’527 Patent, Preservation
 5   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
 6   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
 7   less than a reasonable royalty, together with interest and costs as fixed by this Court
 8   under 35 U.S.C. § 284.
 9                                           COUNT 9
10         (Direct and indirect infringement of United States Patent No. 6,549,911)
11           127. Preservation restates and realleges each of the allegations set forth above
12   and incorporates them herein.
13           128. Defendant, without permission of Preservation, has been and is presently
14   infringing multiple claims of the ’911 Patent, as infringement is defined by 35 U.S.C.
15   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
16   of example only, Defendant’s Accused Websites such as PornHub.com includes an
17   article of manufacture comprising computer readable code configured to cause a
18   computer to specify a description for a portion of multimedia data, create a catalogue
19   element, create a plurality of attribute and attribute elements, and create a plurality of
20   relationships between the catalogue element, attributes, and attribute elements and
21   thus uses the invention covered by at least one claim of the ’911 Patent, such as but
22   not limited to claim 14.
23           129. Defendant indirectly infringes the ’911 Patent by inducing or
24   contributing to the infringement of the ’911 Patent, including but not limited to
25   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
26           130. Defendant does not have a license or permission to use the claimed
27   subject matter of the ’911 Patent.
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                                                -25-
                                            COMPLAINT
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 1           131. As a direct and proximate result of Defendant’s direct, joint, induced,
 2   and/or contributory infringement of the ’911 Patent, Preservation has been injured and
 3   has been caused significant financial damage.
 4           132. Defendant’s aforementioned acts have caused damage to Preservation
 5   and will continue to do so unless and until enjoined.
 6           133. Preservation alleges upon information and belief that Defendant has,
 7   knowingly or with willful blindness, willfully infringed one or more claims of the
 8   ’911 patent. Defendant had knowledge of the Asserted Patents as set forth above,
 9   having been advised of the existence and substance of the Asserted Patents by
10   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
11   its knowledge or despite that it should have known of an objectively high likelihood
12   that its actions constituted infringement of Preservation’s valid patent rights, continue
13   to infringe.
14           134. This objectively-defined risk was either known or so obvious that it
15   should have been known to Defendant. Preservation seeks enhanced damages
16   pursuant to 35 U.S.C. § 284 from Defendant.
17           135. As a result of Defendant’s infringement of the ’911 Patent, Preservation
18   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
19   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
20   less than a reasonable royalty, together with interest and costs as fixed by this Court
21   under 35 U.S.C. § 284.
22                                          COUNT 10
23         (Direct and indirect infringement of United States Patent No. 6,581,071)
24           136. Preservation restates and realleges each of the allegations set forth above
25   and incorporates them herein.
26           137. Defendant, without permission of Preservation, has been and is presently
27   infringing multiple claims of the ’071 Patent, as infringement is defined by 35 U.S.C.
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                                           COMPLAINT
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 1   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
 2   of example only, Defendant’s Accused Websites such as PornHub.com includes a
 3   memory for storing survey information comprising first and second sets of elements
 4   stored in memory and thus uses the invention covered by at least one claim of the ’071
 5   Patent, such as but not limited to claim 9.
 6           138. Defendant indirectly infringes the ’070 Patent by inducing or
 7   contributing to the infringement of the ’071 Patent, including but not limited to
 8   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
 9           139. Defendant does not have a license or permission to use the claimed
10   subject matter of the ’070 Patent.
11           140. As a direct and proximate result of Defendant’s direct, joint, induced,
12   and/or contributory infringement of the ’071 Patent, Preservation has been injured and
13   has been caused significant financial damage.
14           141. Defendant’s aforementioned acts have caused damage to Preservation
15   and will continue to do so unless and until enjoined.
16           142. Preservation alleges upon information and belief that Defendant has,
17   knowingly or with willful blindness, willfully infringed one or more claims of the
18   ’071 patent. Defendant had knowledge of the Asserted Patents as set forth above,
19   having been advised of the existence and substance of the Asserted Patents by
20   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
21   its knowledge or despite that it should have known of an objectively high likelihood
22   that its actions constituted infringement of Preservation’s valid patent rights, continue
23   to infringe.
24           143. This objectively-defined risk was either known or so obvious that it
25   should have been known to Defendant. Preservation seeks enhanced damages
26   pursuant to 35 U.S.C. § 284 from Defendant.
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                                           COMPLAINT
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 1           144. As a result of Defendant’s infringement of the ’071 Patent, Preservation
 2   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
 3   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
 4   less than a reasonable royalty, together with interest and costs as fixed by this Court
 5   under 35 U.S.C. § 284.
 6                                          COUNT 11
 7         (Direct and indirect infringement of United States Patent No. 6,574,638)
 8           145. Preservation restates and realleges each of the allegations set forth above
 9   and incorporates them herein.
10           146. Defendant, without permission of Preservation, has been and is presently
11   infringing multiple claims of the ’638 Patent, as infringement is defined by 35 U.S.C.
12   § 271(a), by making, using, offering to sell, and selling the Accused Systems. By way
13   of example only, Defendant’s Accused Websites such as PornHub.com associates
14   multimedia data with survey data comprising obtaining an association between the
15   data, searching the survey data to identify a catalogue element, and identifying
16   multimedia data using the catalogue element and thus uses the invention covered by at
17   least one claim of the ’638 Patent, such as but not limited to claim 1. As an example of
18   indirect infringement, end users of the www.pornhub.com website participate in
19   surveys whereby an end user receives and answers one or more questions related to
20   multimedia data (for example, can comment upon and/or rate the adult videos, clips
21   and other media hosted by the website).
22           147. Defendant indirectly infringes the ’638 Patent by inducing or
23   contributing to the infringement of the ’638 Patent, including but not limited to
24   infringement by its customers/consumers, in violation of 35 U.S.C. § 271(b)-(c)&(f).
25           148. Defendant does not have a license or permission to use the claimed
26   subject matter of the ’638 Patent.
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                                           COMPLAINT
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 1           149. As a direct and proximate result of Defendant’s direct, joint, induced,
 2   and/or contributory infringement of the ’638 Patent, Preservation has been injured and
 3   has been caused significant financial damage.
 4           150. Defendant’s aforementioned acts have caused damage to Preservation
 5   and will continue to do so unless and until enjoined.
 6           151. Preservation alleges upon information and belief that Defendant has,
 7   knowingly or with willful blindness, willfully infringed one or more claims of the
 8   ’638 patent. Defendant had knowledge of the Asserted Patents as set forth above,
 9   having been advised of the existence and substance of the Asserted Patents by
10   Preservation. Defendant acted with knowledge of the Asserted Patents, and, despite
11   its knowledge or despite that it should have known of an objectively high likelihood
12   that its actions constituted infringement of Preservation’s valid patent rights, continue
13   to infringe.
14           152. This objectively-defined risk was either known or so obvious that it
15   should have been known to Defendant. Preservation seeks enhanced damages
16   pursuant to 35 U.S.C. § 284 from Defendant.
17           153. As a result of Defendant’s infringement of the ’638 Patent, Preservation
18   has suffered monetary damages. Defendant is thus liable to Preservation in an amount
19   that adequately compensates it for Defendant’s infringement, which, by law, cannot be
20   less than a reasonable royalty, together with interest and costs as fixed by this Court
21   under 35 U.S.C. § 284.
22                                        JURY DEMAND
23           Plaintiff Preservation hereby requests a trial by jury on all matters to which it is
24   entitled to trial by jury pursuant to Rule 38 of the Federal Rules of Civil Procedure.
25                                    PRAYER FOR RELIEF
26           WHEREFORE, Plaintiff Preservation respectfully requests that the Court:
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                                             COMPLAINT
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 1           A.      Enter judgment that Defendant directly infringes, contributes to
 2                   infringement, or induces others to infringe one or more claims of the
 3                   Asserted Patents literally and/or under the doctrine of equivalents;
 4           B.      Permanently enjoin Defendant, their agents, servants, and employees, and
 5                   all those in privity with Defendant or in active concert and participation
 6                   with Defendant, from engaging in acts of infringement of the Asserted
 7                   Patents;
 8           C.      Award Plaintiff past and future damages together with prejudgment and
 9                   post-judgment interest to compensate for the infringement by Defendant
10                   of the Asserted Patents in accordance with 35 U.S.C. § 284;
11           D.      Declare this case exceptional pursuant to 35 U.S.C. § 285; and
12           E.      Award Plaintiff Preservation its costs, disbursements, attorney’s fees, and
13                   such further and additional relief as deemed appropriate by this Court.
14
15     DATE: December 11, 2017                     STRADLING YOCCA CARLSON &
                                                   RAUTH, P.C.
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                                                   By: /s/ Douglas Q. Hahn
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                                                       Douglas Q. Hahn
19                                                     Salil Bali
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                                                   Attorneys for Plaintiff
21                                                 Preservation Technologies, LLC
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                                              COMPLAINT
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